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 1 ISMAIL J. RAMSEY (CABN 189820)
   United States Attorney
 2
   THOMAS A. COLTHURST (CABN 99493)
 3 Chief, Criminal Division

 4 HILLARY T. IRVIN (MDBN 1712130257)
   SOPHIA COOPER (CABN 320373)
 5 Assistant United States Attorney

 6           450 Golden Gate Avenue, Box 36055
             San Francisco, California 94102-3495
 7           Telephone: (415) 436-7181
             Fax: (415) 436-7027
 8           Hillary.Irvin@usdoj.gov

 9 Attorneys for United States of America

10                                    UNITED STATES DISTRICT COURT

11                                  NORTHERN DISTRICT OF CALIFORNIA

12                                         SAN FRANCISCO DIVISION

13
     UNITED STATES OF AMERICA,                         ) CASE NO. 3:23-CR-00030-SI
14                                                     )
             Plaintiff,                                ) GOVERNMENT’S RESPONSE TO
15                                                     ) DEFENDANTS’ MOTIONS IN LIMINE
        v.                                             )
16                                                     )
     OLVIN ISAAC GUTIERREZ-NUNEZ, et al,               )
17                                                     )
             Defendants.                               )
18                                                     )

19
                                         GOVERNMENT’S RESPONSE
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             On July 20, 2023, Defendants filed their motions to exclude any unnoticed evidence and
21
     testimony pursuant to FRCP 16(a)(1)(G) and FRE 404(b). The motion is without merit. The government
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     has disclosed and noticed all evidence in its witness list and exhibit list filed on July 20, 2023, and
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     through multiple discovery productions beginning on February 3, 2023. Separately, the deadline for
24
     disclosure of Brady material is July 24, 2023, as ordered by this Court. See D.E. 85. In addition, the
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     government will provide any additional notices pursuant to FRCP 16(a)(1)(G) and FRE 404(b) prior to
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     tomorrow’s pre-trial conference.
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     GOVERNMENT’S RESPONSE                             1
     CASE NO. 3:23-CR-00030-SI
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 2 DATED: July 24, 2023                              Respectfully submitted,

 3                                                   ISMAIL J. RAMSEY
                                                     United States Attorney
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 5
                                                     /s/________________________
 6                                                   HILLARY T. IRVIN
                                                     SOPHIA COOPER
 7                                                   Assistant United States Attorneys
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     GOVERNMENT’S RESPONSE                  2
     CASE NO. 3:23-CR-00030-SI
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